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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION




ART AKIANE LLC,                                         )
                                                        )
         Plaintiff,                                     )
                                                        )   Case No. 19-cv-02952
v.                                                      )
                                                        )   Judge Edmond E. Chang
ART & SOULWORKS LLC,                                    )
CAROL CORNELIUSON, and                                  )
CARPENTREE, INC.,                                       )
                                                        )
         Defendants.                                    )
------------------------------------------------------- )
                                                        )
ART & SOULWORKS LLC, and                                )
CAROLYNE CORNELIUSON,                                   )
                                                        )
         Defendants - Counter-Plaintiffs,               )
                                                        )
v.                                                      )
                                                        )
ART AKIANE LLC, AKIANE ART                              )
GALLERY, LLC, and AKIANE                                )
KRAMARIK,                                               )
                                                        )
         Counter-Defendants.                            )


        ART & SOULWORKS AND CAROLYNE CORNELIUSON’S
 POSITION PAPER ON DISCOVERY NEEDED TO RESPOND TO PLAINTIFF’S
                PRELIMINARY INJUNCTION MOTION
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       Defendants/Counter-plaintiffs Art & Soulworks LLC and Carolyne Corneliuson

(collectively, “ASW”), submit this position paper outlining the primary discovery needed to

respond to Plaintiff/Counter-Defendant Art Akiane’s Motion for Preliminary Injunction

(“Motion”). 1

       Plaintiff seeks a preliminary injunction prohibiting ASW from, among other things,

displaying and selling any of Akiane Kramarik’s works on ASW’s website and via its social

media pages. Effectively, Plaintiff seeks to: (a) prevent ASW from re-selling any of the works

it purchased via a series of wholesale and other oral agreements, where Plaintiff was already paid

for the works and ASW obtained the Right of First Sale; and (b) force ASW to go back through

all of its historical posts on social media and its website to remove any reference to any painting,

likeness or affiliation with Plaintiff or the related Akiane parties even though all of these posts

were made when the parties’ written license agreement and other oral contracts were in effect.

Plaintiff terminated these agreements without notice, leaving ASW with substantial inventory of

which it seeks to be rid.

       To respond to Plaintiff’s 52-page motion and hundreds of pages of exhibits, ASW needs

discovery, most easily obtained in the form of deposition testimony, on the following topics:

       (1) Standing.
              a. From the onset of this litigation and in all of its pleadings, Plaintiff claims it
                  has all rights, title and interest to the copyrights in the works in question and
                  in the Akiane trademarks. Despite numerous requests for proof of the same, it
                  has not been presented.

                        i. Testimony by Akiane Kramarik and a representative of Art Akiane is
                           needed to establish the bona fides and parameters (time frame, etc.) of
                           the claim.


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  As noted previously in court, ASW would like to request an expedited determination on its declaratory
judgment count of its counterclaim [Dkt. 47], which covers and would bring clarity to the same conduct
at issue. The discovery requested here will facilitate that endeavor as well.

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       (2) Likelihood of success on the merits.
              a. A substantial premise of Plaintiff’s motion is that the sales by ASW and the
                  posts at issue were or are “unauthorized.” Testimony by Mark Kramarik to
                  establish the parameters of the parties’ agreements is necessary to defend this
                  assertion.

       (3) Irreparable Harm & No Adequate Remedy at Law.
               a. Plaintiff contends in a conclusory manner that it will be irreparably harmed if
                   the sought injunction is not issued and that there is no comparable remedy at
                   law. A deposition of Mark Kramarik will allow ASW to challenge these
                   claims.

       (4) Statute of Limitations.
               a. Plaintiff conflates an untold amount of alleged “harms” into its 52-page
                   motion, but does not clarify when the alleged unlawful acts occurred, thus
                   obfuscating a determination of whether the statute of limitations on some or
                   all of its claims has expired. A deposition to establish the time frames in
                   question is therefore necessary.

       (5) Right of Publicity.
              a. Plaintiff addresses the likelihood of success on its right of publicity claim (p.
                  41-43). A deposition of Akiane Kramarik is necessary to establish the transfer
                  of any such rights and the manner in which ASW has allegedly violated them.

       (6) Unclean Hands.
              a. Unclean hands is a defense to motions seeking extraordinary equitable relief.
                 A deposition of a representative of Art Akiane is necessary to establish how
                 Plaintiff has unclean hands that prevent the issuing of the injunction sought.

       (7) Clarity on Claims.
              a. Plaintiff’s motion addresses a host of allegedly unlawful conduct, but does not
                   do so with sufficient clarity as to where the allegedly infringing piece(s) was
                   sold or displayed, when, and in what context. Many of the examples included
                   in the graphic illustrations or exhibits do not appear to be what the text of the
                   motion suggests. A deposition of a representative of Art Akiane would allow
                   ASW to probe the claims being made to establish that no likelihood of success
                   on the merits exists.

       Rather than spend time exchanging documents, interrogatories and interrogatory

responses, ASW believes that it can obtain the necessary information needed to respond to the

instant motion through depositions as described above.




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Dated: October 16, 2019                   Respectfully submitted,

                                          /s/ Nicole N. Auerbach

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                              CERTIFICATE OF SERVICE

       I hereby certify that on October 16, 2019, I caused the foregoing to be served upon all

counsel of record via the Court’s ECF system.

                                                    /s/ Nicole N. Auerbach
                                                    Nicole N. Auerbach




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